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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

Civil Action No. 19-cv-887-RBJ

ALEXANDER ARMIJO,

       Plaintiff,

v.

LEROY GARCIA, in his official and individual capacities,

       Defendants.


                         PLAINTIFF’S NOTICE OF ACCEPTANCE OF
                           DEFENDANT’S OFFER OF JUDGMENT


       Pursuant to Rule 68(a) of the Federal Rules of Civil Procedure, Plaintiff Alexander

Armijo, by and through his counsel, hereby accepts and provides notice that he has accepted

Defendant’s Offer of Judgment Pursuant to Fed.R.Civ.P. 68, proffered by Defendant on April 10,

2019, and attached hereto as Exhibit 1. Plaintiff respectfully requests that this Court enter

judgment in his favor.

       Respectfully submitted this 11th day of April 2019.

                                              KILLMER, LANE & NEWMAN, LLP

                                              s/ Andy McNulty
                                              ___________________________
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                            CERTIFICATE OF SERVICE

     I hereby certify that on April 11, 2019, I filed the foregoing via CM/ECF, and the
CM/ECF system will send notification to the following:

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Counsel for Defendant

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                                        s/ Jesse Askeland
                                        _________________________
                                        Jesse Askeland




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